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       SCOTT YANG and KELLY YANG
   7

   8                                              UNITED STATES DISTRICT COURT
   9                                           CENTRAL DISTRICT OF CALIFORNIA
  10

  11 SKYAN HOLDINGS LLC;                                          Case No.: 2:22-cv-00613 RGK (MRWx)
     SCOTT YANG; and
  12 KELLY YANG,

  13                Plaintiffs,                                   PLAINTIFFS’ NOTICE OF
  14                             v.                               MOTION AND MOTION FOR
                                                                  ORDER STRIKING ANSWER
  15   ASSOCIATED INDUSTRIES                                      OF DEFENDANT ASSOCIATED
       INSURANCE COMPANY, INC.,
  16                                                              INDUSTRIES INSURANCE
                    Defendant.                                    COMPANY, INC. AND MOTION
  17                                                              TO REMAND
  18
                                                                  Hearing Date:   March 21, 2022
  19                                                              Hearing Time:   9:00 a.m.
  20                                                              Courtroom:      850
                                                                  Judge:          R. Gary Klausner
  21

  22                TO DEFENDANT ASSOCIATED INDUSTRIES INSURANCE
  23   COMPANY, INC. AND ITS ATTORNEYS OF RECORD:
  24                NOTICE IS HEREBY GIVEN that on March 21, 2022, in the above-entitled
  25   Court, Plaintiffs will, and hereby do, move the Court for an order striking the
  26   answer filed by Defendant ASSOCIATED INDUSTRIES INSURANCE
  27   COMPANY, INC. in the state court action prior to removal to this Court.
  28                In addition, Plaintiffs move the Court to remand this action to the state court
       SKY-001 | Skyan Mtn to Strike AIIC Answer (NOM) 021622   -1-                           22-cv-00613
                            PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR ORDER STRIKING
                         ANSWER OF DEFENDANT ASSOCIATED INDUSTRIES AND MOTION TO REMAND
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   1   of original jurisdiction.
   2                The motion is based upon this Notice of Motion and Motion, the
   3   accompanying Memorandum of Points and Authorities, the Declaration of Jon
   4   S. Brick, all pleadings and papers on file in this action, and upon such other matters
   5   as may be presented to the Court at the time of the hearing.
   6

   7   Dated: February 16, 2022                                 SCHULZ BRICK & ROGASKI
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   9                                                            By: /s/ Peter J. Schulz
                                                                    Peter J. Schulz, Esq.
  10                                                                Tommy U. Schroeder, Esq.
  11                                                                Attorneys for SKYAN HOLDINGS LLC,
                                                                    SCOTT YANG and KELLY YANG
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       SKY-001 | Skyan Mtn to Strike AIIC Answer (NOM) 021622     -2-                        22-cv-00613
                            PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR ORDER STRIKING
                         ANSWER OF DEFENDANT ASSOCIATED INDUSTRIES AND MOTION TO REMAND
